     Case 2:05-cr-00424-TSZ       Document 246      Filed 01/23/07    Page 1 of 10



 1

 2

 3

 4

 5

 6

 7

 8
                              UNITED STATES DISTRICT COURT
 9                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
10

11
      UNITED STATES OF AMERICA,
12
                                 Plaintiff,                  No. CR05-424Z
13
      v.
14
                                                             ORDER
      WADE B. COOK, and LAURA M. COOK,
15
                                 Defendants.
16

17

18         This matter comes before the Court pursuant to a Joint Motion in Limine to Exclude
19   Attorney-Client Privileged Communications by Defendants Wade and Laura Cook, docket
20   no. 131. The Cooks’ motion seeks to bar the testimony of Tim Berry as a witness and to
21   exclude all fruits of what the Government learned from Mr. Berry’s disclosures to the
22   Government.
23         Tim Berry graduated from Seattle University Law School and became a lawyer on
24   November 14, 1997. The Court held an evidentiary hearing on January 16, 2007 to
25   determine the application of the attorney-client privilege to communications between Tim
26   Berry and the Cooks.


     ORDER -1-
     Case 2:05-cr-00424-TSZ        Document 246      Filed 01/23/07     Page 2 of 10



 1          On or about April 1996, while a law student, Tim Berry saw an advertisement about a
 2   job with the Cooks’ organization. He responded to the advertisement and was hired by a
 3   company then known as United Support Associates. He started work as a paralegal in April
 4   1996 and continued in that role through February 1997. In 1997, Mr. Berry became a
 5   speaker at Wade Cook Seminars on asset protection and tax savings. In June 1997, Mr.
 6   Berry formed Ocean Side Management and continued to provide help to the Cooks.
 7          Beginning by at least mid-1997, Mr. Berry started talking to the Cooks about
 8   charitable remainder trusts and estate planning. During 1997, Mr. Berry helped the Cooks
 9   form a charitable remainder trust and discussed with the Cooks how to protect their assets.
10   The Court has already ruled that nothing Mr. Berry said to the Cooks, or any of their
11   discussions prior to the date he became a lawyer, November 14, 1997, was subject to the
12   attorney-client privilege.
13          Prior to becoming a lawyer, Mr. Berry sent the Cooks Exhibit 227. Exhibit 227 was a
14   fax and various attachments including schematics on how a charitable remainder trust could
15   be used to protect the Cooks assets. Mr. Berry also testified, and I find, that he prepared and
16   sent an “Owner’s Manual” explaining how the charitable remainder trust would work, Trial
17   Exhibit 229, to the Cooks before November 14, 1997. The Owner’s Manual alerted the
18   Cooks to numerous restrictions placed upon the charitable remainder trusts including
19   prohibitions on self-dealing and the need to pay taxes on any disbursements. A version of
20   the charitable remainder trust was also prepared by Mr. Berry and provided by him to the
21   Cooks prior to November 14, 1997.
22          A version of the charitable remainder trust, Exhibit 426, was mailed by the Cooks’
23   attorney to the Federal Trade Commission in 2002. This document was dated October 14,
24   1997. Mr. Berry testified that the October 14, 1997 date was consistent with his recollection
25   of the time frame when the document was prepared. See Trial Exhibit 426. Mr. Berry also
26


     ORDER -2-
     Case 2:05-cr-00424-TSZ        Document 246       Filed 01/23/07    Page 3 of 10



 1   provided a letter to Eric Marler, Exhibit 228, around the time the charitable remainder trust
 2   was prepared. The letter was sent to Eric Marler, a consultant, friend, and Cook adviser.
 3          Mr. Berry began providing legal advice to the Cooks after he became a lawyer in
 4   November 1997. His advice continued through March 1999, when Mr. Berry and the Cooks
 5   had a falling out.
 6          Prior to July 2003, Mr. Berry sought out Agent Shipley for the purpose of telling the
 7   Government about the Cooks’ activities. Mr. Berry met with Government lawyers in July
 8   2003. The notes of the Government representatives reflect that Mr. Berry was told not to
 9   reveal attorney-client privileged communications. Mr. Berry discussed with the Government
10   the creation of the charitable remainder trust, the owner’s manual, the letters to Wade Cook
11   and Eric Marler, and the work he performed for the Cooks.
12          Mr. Berry testified at the evidentiary hearing that at no time has the Government
13   asked him to disclose any confidential information with respect to his involvement with the
14   Cooks. Mr. Berry also testified that, to the best of his ability, he has avoided providing
15   privileged information to the Government. Statements by Mr. Westinghouse to the Cooks’
16   attorney, Robert Chicoine, indicate that the Government also believed that the attorney-client
17   privilege did not apply, and that the Cooks were not entitled to rely on legal advice from Mr.
18   Berry before he was admitted to practice law. See Chicoine Decl., docket no. 228, at ¶ 5. I
19   find that the Government attempted to limit Mr. Berry’s disclosures to matters occurring
20   before Mr. Berry became a lawyer, or to conversations with third parties, including Eric
21   Marler, which the Government reasonably believed would not be privileged. I also find that
22   certain disclosures were made that involved confidential attorney-client discussions, and
23   documents were provided by Mr. Berry that were prepared after he became a lawyer and
24   would have been subject to the attorney-client privilege.
25          Mr. Berry met with Zaman Farukhi in early 1999 and discussed the charitable
26   remainder trust he had created for the Cooks. Mr. Farukhi was the Cooks’ tax advisor and


     ORDER -3-
     Case 2:05-cr-00424-TSZ          Document 246     Filed 01/23/07    Page 4 of 10



 1   consultant but had no involvement with the charitable remainder trusts or the tax
 2   consequences of creating the documents known as the charitable remainder trusts.
 3   Accordingly, any communications between Mr. Berry and Mr. Farukhi were not privileged.
 4   See, e.g., United States v. Judson, 322 F.2d 460, 462-63 (9th Cir. 1963); see also United
 5   States v. Brown, 349 F. Supp. 420, 425-26 (N.D. Ill. 1972) (“[P]rivilege does not extend to
 6   protect an accountant’s papers prepared while employed by a taxpayer.”).
 7          I find that the Government did not take any action to intentionally interfere with the
 8   attorney-client relationship between the Cooks and Tim Berry. The Government did not ask
 9   for and did not understand it was obtaining information from Mr. Berry that would invade
10   the privilege. To the extent Mr. Berry told the Government more than he should – to the
11   extent he revealed confidential communications after he became a lawyer – it was done by
12   Mr. Berry. The Government did not improperly induce Mr. Berry to breach his ethical duty
13   of confidentiality to his client.
14          In this case we have a situation, at most, where Mr. Berry as a lawyer may have
15   breached his attorney’s obligation of confidentiality to the Cooks. Any remedy should be
16   tailored to the injury suffered. This case is very close to United States v. Rogers, 751 F.2d
17   1074 (9th Cir. 1985). In Rogers, the defendant’s former attorney, Ira Miller, revealed
18   confidential communications to an IRS agent, in violation of his ethical obligations. Miller
19   was not the attorney representing the taxpayer (Rogers) in the IRS investigation, just as Mr.
20   Berry did not represent the Cooks during the IRS investigation. The fact that Mr. Berry
21   failed to assert the ethical obligation does not transform the investigation into Government
22   misconduct. See id. at 1080 (“Normally, an attorney is in a better position to protect the
23   confidences of his client and to know the scope of his ethical duty to his client than is an IRS
24   agent.”). As noted in Rogers, where an attorney breaches his obligation suppression of that
25   evidence at trial is appropriate. Rogers also noted, however, the fundamental distinction
26   between the use of privileged information at trial and its use during the investigation.


     ORDER -4-
     Case 2:05-cr-00424-TSZ        Document 246       Filed 01/23/07     Page 5 of 10



 1          The Cooks made no secret about their charitable remainder trust. Mr. Cook on
 2   numerous occasions during 1998 and 1999 talked about his charitable remainder trust and
 3   described the whole process of putting royalties inside a limited partnership and putting the
 4   limited partnership inside the charitable remainder trust.
 5          If the inquiry ended with the disclosures by Mr. Berry after he became a lawyer, I
 6   would order that he not be able to testify about events after he became a lawyer. Even here,
 7   the Court notes that substantially all of the Berry-Cook communications about the charitable
 8   remainder trust occurred before any privilege came into being. However, there is more to the
 9   story. In the Spring of 2005 the Cooks, who were represented by new counsel, agreed to
10   meet with the Government and tell their story under oath. Both Cooks, with this new
11   counsel present, met with the Government and testified freely and voluntarily, under oath.
12          During the Cooks’ meetings with the Government, the Cooks testified at length about
13   their communications with Mr. Berry. The Cooks testified regarding their communications
14   with Mr. Berry regarding the formation of the charitable remainder trust, as well as other
15   related communications including tax consequences and the withdrawal of funds. The
16   Cooks’ sworn testimony frequently refers to Mr. Berry, with substantial testimony regarding
17   specific communications between Mr. and Mrs. Cook and Mr. Berry. The following are
18   some excerpts from that testimony.
19          Mr. Cook testified about how Mr. Berry, as an attorney, proposed the structure for the
20   limited partnership and charitable remainder trust.
21          A.     * * * Well, Tim Berry had an idea – again, he’s an attorney – he had an
                   idea that we could set up a limited partnership, put all the royalties into
22                 a limited partnership, and then assign all the units in the partnership to
                   the LDS Church. And we talked about it for a couple of weeks. I had
23                 never thought of this, but he came into my office. He made this
                   presentation. I said, “Do you know – how would this work?” He drew
24                 out – went on his computer, I guess, and drew out diagrams. “You
                   place the royalties and the copyrights here, and then you donate the
25                 units over here to a CRT,” and then Laura didn’t really understand it. I
                   thought I understood it.
26


     ORDER -5-
     Case 2:05-cr-00424-TSZ          Document 246    Filed 01/23/07    Page 6 of 10



 1   Defs.’ Resp., docket no. 209, ex. 1 (Wade Cook Tr. April 8, 2005) at 100-101. Mr.
 2   Cooks’ testimony further acknowledged Mr. Berry’s role as an attorney.
 3         Q.     Was Mr. Berry an employee of Wade Cook Financial Corporation or
                  was Mr. Berry your personal attorney?
 4
           A.     I don’t even know if he was – I think he might have been one of our
 5                employees at one time, but through all of these things here, he was an
                  employee of his own law firm, so –
 6
           Q.     What was the name of the law firm?
 7
           A.     It was Anderson Law Group, and it was formed by Bob Anderson to do
 8                our seminars, and then he, Berry, and Childers – it was called the Berry
                  Childers law firm – bought out the Anderson Law Group.
 9
           Q.     What was the experience of Mr. Berry at the time that he proposed this
10                charitable remainder trust to you; that is, what was the nature of his
                  legal practice? How much experience had he had in trusts, for
11                example?
12         A.     Well, he – for several years, you know, they did all of the trust work,
                  the living trusts and all that, I know for sure. Now I realize he probably
13                didn’t have that much experience with charitable remainder trusts, but
                  he sure acted like he did when he came into my office. He was all
14                knowledgeable and we could do this and this and this and assign the
                  royalties, and basically, again, our wealth was tied up in our stock. It
15                wasn’t in our entity.
16   Id., ex. 1 (Wade Cook Tr. April 8, 2005) at 117-18. Mr. Cook later attributed various other
17   actions and tax consequences to advice given by Mr. Berry.
18         A.     . . . And there were quite a few works, you know, after that time, that went into
                  the trust – into the limited partnership.
19
           Q.     You never saw an appraisal; isn’t that correct?
20
           A.     I said I didn’t.
21
           Q.     You never talked with anyone other than Mr. Berry about the valuation of the
22                partnership units that you were contributing to the trust?
23         A.     As I said, Tim and I discussed it and it was not going to be worth it to do that,
                  and to take a deduction for those units, so we decided not to pay the extra
24                expense, so we decided not to take a deduction.
25

26


     ORDER -6-
     Case 2:05-cr-00424-TSZ         Document 246      Filed 01/23/07     Page 7 of 10



 1   Id., ex. 1 (Wade Cook Tr. April 8, 2005) at 165-66. Mr. Cook attributed his treatment of
 2   funds in the charitable remainder trust and partnership structure to advice given by Mr.
 3   Berry.
 4            A.    Again at Tim Berry’s direction, he told us that the way to – if we needed
                    money out of the company, because we had obligations, that we can create
 5                  from Never Ending Wealth to ourselves a line of credit, and that when the
                    royalties were received, we could borrow out the money, and we could create it
 6                  up to $3 million, which is what he suggested, so from time to time we would
                    do that. We would document it in a ledger. When we repaid the loan, we
 7                  would figure out the interest to that point, and pay back some of the loan, and
                    then we would borrow money and then pay some back.
 8
     Id., ex. 1 (Wade Cook Tr. April 8, 2005) at 214-15.
 9
              The Defendants rely heavily on the prosecutor’s knowledge, having talked to Mr.
10
     Berry, that Mr. Berry had told the Cooks specifically that borrowing from the charitable
11
     remainder trust was a potential problem. Id., ex. 1 (Wade Cook Tr. April 8, 2005) at 215:11-
12
     13. The Defendants claim this is the fruit of the Government’s misconduct. However, this
13
     question, put in context, only occurs after Mr. Cook stated under oath that Tim Berry advised
14
     the Cooks they could establish a line of credit up to $3.0 million and borrow the royalties
15
     after they had been put in the trust.
16
              Laura Cook offered similar testimony which put the Cooks’ communications with Mr.
17
     Berry at issue and disclosed the substance of Mr. Berry’s advice.
18
              Q.    You said that Mr. Berry told you something about withdrawing money in the
19                  form of loans or that if you did withdraw money, it should be in the form of
                    loans. Do I have that correct?
20
              A.    Yes.
21
                    ***
22
              Q.    Did Mr. Berry tell you about the concern of self-dealing that might come into
23
                    play if there were loans from the limited partnership or the trust to you and Mr.
                    Cook?
24
              A.    No.
25
              Q.    Was there any discussion by Mr. Berry of self-dealing?
26


     ORDER -7-
     Case 2:05-cr-00424-TSZ         Document 246       Filed 01/23/07     Page 8 of 10



 1          A.     I don’t remember those terms at all. In fact, the first time I saw it was when
                   you showed me that letter that he supposedly sent to Wade.
 2
     Id., ex. 2 (Laura Cook Tr. April 13, 2005) at 130-32.
 3
            The Cooks’ disclosure of communications with Mr. Berry was substantial, and
 4
     included communications covered by the attorney-client privilege. The Cooks acknowledged
 5
     Mr. Berry’s role as attorney and advisor. During their interviews, the Cooks apparently did
 6
     not claim the attorney-client privilege was applicable, although they were represented and
 7
     counsel was present during their testimony. These undisputed facts alone are sufficient to
 8
     effect an express waiver of the attorney-client privilege to the extent it is applicable to the
 9
     Cooks’ communications with Mr. Berry regarding the charitable remainder trust, the limited
10
     partnership, and Mr. Berry’s advice in that regard. See United States v. Plache, 913 F.2d
11
     1375, 1380 (9th Cir. 1990). The Cooks effected a complete disclosure of their
12
     communications with Mr. Berry in an attempt to avoid indictment. Under Plache, the Court
13
     finds the attorney-client privilege was expressly waived by Mr. and Mrs. Cook.
14
            The Cooks argument that a finding of waiver is inappropriate because of Government
15
     misconduct is unavailing. This is not a case in which a defendant’s sixth amendment right to
16
     counsel is involved. As the Ninth Circuit observed in United States v. Rogers, 751 F.2d
17
     1074, 1077 (9th Cir. 1985), Mr. Berry was not an attorney representing the Cooks in
18
     defending against a criminal charge. Instead, he was a potential witness because of the past
19
     representation. Id. Here, as in Rogers, the Court is faced with “only a situation in which a
20
     potential witness, who was an attorney, talked to federal agents about past representation of a
21
     client; this, at most, involved a breach of the attorney’s ethical obligation of confidentiality.”
22
     Id. The attorney-client privilege is violated only if the attorney is required to testify to the
23
     contents of confidential communications between him and his client. Mr. Berry was not
24
     required to testify regarding his confidential communications with the Cooks.
25
            The Cooks’ decision to meet with the Government to provide sworn statements must
26
     also be considered in light of their knowledge that the Government was meeting with Mr.

     ORDER -8-
     Case 2:05-cr-00424-TSZ         Document 246       Filed 01/23/07     Page 9 of 10



 1   Berry. See Chicoine Decl., docket no. 228, ¶¶ 2-3. The Cooks were faced with a possible
 2   invasion of the attorney-client privilege as a result of Mr. Berry’s discussions with the
 3   Government. I find that the Cooks’ choice to give sworn testimony, including substantial
 4   testimony about communications arguably covered by the attorney-client privilege, was a
 5   waiver. The Cooks may not disclose the substance of an attorney-client communication for
 6   purposes of obtaining a benefit (i.e., the dismissal of the indictment) and later retract the
 7   waiver to obtain a different benefit at trial. The Cooks cannot use their communications with
 8   Mr. Berry as an excuse for their conduct and then hide behind the privilege at trial. Wade
 9   and Laura Cook expressly waived the attorney-client privilege as it applied to Mr. Tim Berry
10   through their sworn statements to the Government. There was no “trickery involved to
11   invoke this testimony.” Plache, 913 F.2d at 1380. While represented by counsel the Cooks
12   chose to disclose the contents of their communications with their attorney.
13          When the Cooks learned of Mr. Berry’s meeting with the Government, they had a few
14   options:
15          Option 1:     Refuse to meet with the Government and approach the Court for
                          suppression of any improperly obtained attorney-client information.
16                        See Rogers, 751 F.2d 1074.
17          Option 2:     Meet with the Government and provide sworn statements. The Cooks
                          could have refused to disclose attorney-client communications related to
18                        Mr. Berry, reserving their right to move to suppress improperly
                          disclosed attorney-client communications.
19
            Option 3:     Meet with the Government and provide all information, including
20                        testimony regarding Mr. Berry, expressly waiving the attorney-client
                          privilege regarding Mr. Berry by providing sworn testimony about their
21                        communications with Mr. Berry.
22          The Cooks chose the third option. They waived the attorney-client privilege as to Mr.
23   Berry by testifying in great detail about their communications with him. They did so after
24   they learned Mr. Berry had been meeting with the Government, they did so with the advice
25   of counsel who was advising them with regard to the criminal tax investigation, and they did
26   so in a manner that left nothing of the privileged communications confidential.


     ORDER -9-
     Case 2:05-cr-00424-TSZ      Document 246      Filed 01/23/07   Page 10 of 10



 1         By choosing to meet with the Government and discuss the substance of their
 2   communications with Mr. Berry, the Cooks expressly waived the attorney-client privilege to
 3   the extent it applies to Mr. Berry. Accordingly, the Court DENIES Defendants’ Joint
 4   Motion in Limine to Exclude Attorney-Client Privileged Communications, docket no. 131.
 5

 6         IT IS SO ORDERED.
 7         DATED this 23rd day of January, 2007.
 8

 9

10
                                             A
                                             Thomas S. Zilly
                                             United States District Judge
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     ORDER -10-
